Case 23-50177-nmc   Doc 1   Entered 03/17/23 15:46:02   Page 1 of 8
Case 23-50177-nmc   Doc 1   Entered 03/17/23 15:46:02   Page 2 of 8
Case 23-50177-nmc   Doc 1   Entered 03/17/23 15:46:02   Page 3 of 8
Case 23-50177-nmc   Doc 1   Entered 03/17/23 15:46:02   Page 4 of 8
Case 23-50177-nmc   Doc 1   Entered 03/17/23 15:46:02   Page 5 of 8
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                        Case 23-50177-nmc                      Doc 1          Entered 03/17/23 15:46:02                       Page 7 of 8



Debtor       GUARDIAN FUND, LLC                                                                              Case number (if known)

                                                                                                             775-324-2800                     notices@bankruptc
                                                                                                                                              yreno.com
Name
                                                                                        Bar number      1607

                                                                                        State           NV
Number         Street

City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        March 16, 2023                                                       /s/ Jeffrey L. Hartman, Esq.
                   MM / DD / YYYY                                                       Signature of attorney
                                                                                        Date signed      March 16, 2023
/s/                                                                                                      MM / DD / YYYY
Signature of petitioner or representative, including representative's title


      Petitioners or Petitioners' Representative                                    Attorneys


Name and mailing address of petitioner
The Newman Family 2020 Trust                                                            Jeffrey L. Hartman, Esq.
Name                                                                                    Printed name

4795 Franktown Road                                                                     Hartman & Hartman
Number         Street                                                                   Firm name, if any
                                                                                        510 W. Plumb Lane
Washoe Valley NV 89704-0000                                                             Suite B
City                                       State            Zip Code                    Number      Street
                                                                                        Reno NV 89509-0000
Name and mailing address of petitioner's representative, if any                         City                                          State        Zip Code
                                                                                        Contact phone                                 Email   notices@bankruptc
                                                                                                             775-324-2800                     yreno.com
Name
                                                                                        Bar number      1607

                                                                                        State           NV
Number         Street

City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        March 16, 2023                                                       /s/ Jeffrey L. Hartman, Esq.
                   MM / DD / YYYY                                                       Signature of attorney
                                                                                        Date signed      March 16, 2023
/s/                                                                                                      MM / DD / YYYY
Signature of petitioner or representative, including representative's title


      Petitioners or Petitioners' Representative                                    Attorneys


Name and mailing address of petitioner
The Newman 2019 Irrevocable Trust                                                       Jeffrey L. Hartman, Esq.
Name                                                                                    Printed name

4795 Franktown Road                                                                     Hartman & Hartman
Number         Street                                                                   Firm name, if any
                                                                                        510 W. Plumb Lane
Washoe Valley NV 89704-0000                                                             Suite B
City                                       State            Zip Code                    Number      Street
                                                                                        Reno NV 89509-0000
Name and mailing address of petitioner's representative, if any                         City                                          State        Zip Code
                                                                                        Contact phone                                 Email   notices@bankruptc
                                                                                                             775-324-2800                     yreno.com
Name
Official Form 205                                       Involuntary Petition Against a Non-Individual                                                   page 6
                       Case 23-50177-nmc                       Doc 1          Entered 03/17/23 15:46:02                   Page 8 of 8



Debtor      GUARDIAN FUND, LLC                                                                           Case number (if known)

                                                                                        Bar number      1607

                                                                                        State           NV
Number        Street

City                                       State            Zip Code

I declare under penalty of perjury that the foregoing is true and correct.
Executed on        March 16, 2023                                                       /s/ Jeffrey L. Hartman, Esq.
                   MM / DD / YYYY                                                       Signature of attorney
                                                                                        Date signed     March 16, 2023
/s/                                                                                                     MM / DD / YYYY
Signature of petitioner or representative, including representative's title




Official Form 205                                       Involuntary Petition Against a Non-Individual                                   page 7
